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                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


                   UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                          JASPER DIVISION

GREGORY ROGERS BONE,                       )
                                           )
       Plaintiff,                          )
                                           )
 v.                                        )   Case No.: 6:19-1920-CLM-HNJ
                                           )
 RACHEL MERRILL, et al.,                   )
                                           )
       Defendants.                         )

                           MEMORANDUM OPINION
      The magistrate judge filed a report and recommendation on May 19, 2020,

recommending this action be dismissed without prejudice pursuant to 28 U.S.C. §

1915A(b)(1) for failing to state a claim upon which relief may be granted. (Doc.

10). Although the magistrate judge advised the plaintiff of his right to file specific

written objections within fourteen (14) days, no objections have been received by

the court and the time to file objections has expired.

      Having carefully reviewed and considered de novo all the materials in the

court file, including the report and recommendation, the magistrate judge’s report is

hereby ADOPTED and the recommendation is ACCEPTED.                     Therefore, in

accordance with 28 U.S.C. § 1915A(b), this action is due to be dismissed without

prejudice for failing to state a claim upon which relief can be granted.

       A Final Judgment will be entered.
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DONE and ORDERED this September 28, 2020.



                           _________________________________
                           COREY L. MAZE
                           UNITED STATES DISTRICT JUDGE




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